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            Sealed                                                                           United States Courts
Public and unofficial staff access                                                         Southern District of Texas
     to this instrument are                                                                         FILED
   prohibited by court order
                                     UNITED STATES DISTRICT COURT                               June 30, 2022
                                      SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk of Court
                                          HOUSTON DIVISION


         UNITED STATES OF AMERICA                         §
                                                          §           CRIMINAL NO. 4:22-cr-314
                v.                                        §
                                                          §
         WILLIAM-PAUL THOMAS                              §           UNDER SEAL

                                          CRIMINAL INFORMATION

         The United States Attorney charges:

                                                   Introduction

                At all times material to this Information:

                1.      The City of Houston was an entity of local government located in the Southern

         District of Texas. During 2020, it received benefits in excess of $10,000 annually under Federal

         programs and from other forms of Federal assistance.

                2.      WILLIAM-PAUL THOMAS was employed by the City of Houston (“CoH”), and

         he worked specifically in the Mayor’s Office as the Director of Council Relations. In this position,

         THOMAS worked directly with the CoH Mayor and with Houston City Council members on CoH-

         related business. THOMAS was authorized to represent the Mayor in all aspects of dealing with

         the Houston City Council, including the presentation and approval of CoH contracts, as well as

         the functioning and oversight of the various departments within the CoH.

                3.      BUSINESSMAN 1 operated COMPANY 1, a restaurant and bar located in

         Houston, Texas, and COMPANY 2, a bar and nightclub also located in Houston.
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                                          COUNT ONE

                                 (18 U.S.C. § 371 – Conspiracy)

       4.      Beginning in or around May 2020 and continuing through in or around November

2020, in the Southern District of Texas and elsewhere, the Defendant,

                                  WILLIAM-PAUL THOMAS,

did knowingly conspire, confederate, and agree with others known and unknown to the United

States, including BUSINESSMAN 1, to commit offenses against the United States, that is, being

an agent of an organization and local government that receives, in any one-year period, benefits in

excess of $10,000 under a federal assistance program, to corruptly solicit and demand for the

benefit of any person, and accept and agree to accept, anything of value from any person, intending

to be influenced and rewarded in connection with any business, transaction, and series of

transactions of such organization and local government involving anything of value of $5,000 or

more, in violation of Title 18, United States Code, Section 666(a)(1)(B).

                             Manner and Means of the Conspiracy
It was part of the conspiracy that:
       5.      BUSINESSMAN 1 would give and agree to give things of value to THOMAS in

order to influence and reward him for his official acts as the Director of Council Relations for the

City of Houston. These things of value included cash payments.

       6.      THOMAS would accept and agree to accept these things of value intending to be

influenced and rewarded for his official assistance to BUSINESSMAN 1.




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                                 Overt Acts of the Conspiracy

       7.      In furtherance of the conspiracy and to achieve the objects thereof, at least one of

the co-conspirators committed or caused to be committed, in the Southern District of Texas and

elsewhere, at least one of the following overt acts, among others:

       8.      BUSINESSMAN 1, as owner and operator of COMPANY 1, required a Temporary

Certificate of Occupancy (“TCO”) to continue the use of the building space used by COMPANY

1. In order to receive a TCO, COMPANY 1 was required to pass an inspection by the Fire

Marshal’s Office of the Houston Fire Department.

       9.      During May 2020, BUSINESSMAN 1 and THOMAS exchanged text messages

and phone calls regarding COMPANY 1’s need for a TCO and the status of COMPANY 1’s

application for a TCO. THOMAS agreed to use his official position to exert pressure on other

officials to pass COMPANY 1 at inspection and to issue COMPANY 1 a TCO, all in exchange

for money.

       10.     During May 2020, THOMAS, in his official capacity, placed calls to the relevant

Houston Fire Department official to ensure that COMPANY 1 would pass its fire inspection and

be issued its TCO.

       11.     On or about May 12, 2020, based on THOMAS’s use of his official position and

exertion of influence and pressure on other officials, the TCO was issued to COMPANY 1, the

issuance of which provided value to COMPANY 1 in excess of $5,000.

       12.     In and around May 2020, BUSINESSMAN 1 paid THOMAS for acts taken in his

official capacity for the benefit of COMPANY 1.

       13.     Later, in June 2020, BUSINESSMAN 1 reached out to THOMAS again for

assistance after the Texas Alcohol and Beverage Commission (“TABC”) shut down COMPANY



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2. Under local COVID-19 restrictions, businesses designated as “bars” were not permitted to

operate, while “restaurants” could remain operational. COMPANY 2 was designated as a bar,

and, therefore, was not permitted to operate. BUSINESSMAN 1 asked for THOMAS to help

expedite the permit so that COMPANY 2 could reopen as a restaurant.                    In exchange,

BUSINESSMAN 1 told THOMAS that if THOMAS put BUSINESSMAN 1’s request “ahead of

everyone,” BUSINESSMAN 1 would “take care of” THOMAS “really good.”

       14.     On July 6, 2020, BUSINESSMAN 1 offered THOMAS up to $13,000 to have the

necessary permit issued quickly so that COMPANY 2 could reopen. THOMAS agreed to use his

official position to pressure other officials to issue the permit quickly, all in exchange for money.

       15.     THOMAS used his position in the Mayor’s Office to influence and pressure other

officials to grant the necessary permit to COMPANY 2. By July 10, 2020, COMPANY 2 was

granted the necessary permit to operate as a restaurant and was permitted to open. The issuance

of the permit provided value to COMPANY 2 in excess of $5,000.

       All in violation of Title 18, United States Code, Section 371.


                                  NOTICE OF FORFEITURE
                         (18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c))

       16.     Pursuant to Title 18, United States Code, Section 981(a)(1)(C), through application

of Title 28, United States Code, Section 2461(c), the United States gives notice to Defendant,

                                  WILLIAM-PAUL THOMAS,

that upon conviction of Count One, all property, real or personal, which constitutes or is derived

from proceeds traceable to such offense, is subject to forfeiture.




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                            Money Judgment and Substitute Assets
       17.      The United States gives notice that it will seek a money judgment against the

Defendant. In the event that one or more conditions listed in Title 21, United States Code, Section

853(p) exist, the United States will seek to forfeit any other property of the Defendant in

substitution.




                                             JENNIFER B. LOWERY
                                             UNITED STATES ATTORNEY




                                      BY:
                                             HEATHER WINTER
                                             JOHN P. PEARSON
                                             ASSISTANT U.S. ATTORNEYS


                                             COREY R. AMUNDSON
                                             CHIEF, PUBLIC INTEGRITY SECTION


                                      BY:    s/ Nicole Lockhart_______________________
                                             NICOLE R. LOCKHART
                                             TRIAL ATTORNEY




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